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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA
          Plaintiff,

vs.                                                     Case No. 3:07cr114/LAC

ALEKSANDER V. BERMAN,
a/k/a Aleksandr Berman,
a/k/a Vladimir Berman,
a/k/a Alex Berman
              Defendant.
______________________________

                         FINAL ORDER OF FORFEITURE AS
                          TO ALL PERSONS AND ENTITIES

        WHEREAS, on January 4, 2008, the Court entered a Preliminary Order of

Forfeiture (Doc. 128), pursuant to the provisions of Title 8, United States Code, Section

1324(b), and Title 18, United States Code, Section 982(a)(6), based upon the defendant’s

guilty plea to Counts One through Twelve of the Indictment in this action, and his

consent to the forfeiture of all assets used or derived from said conduct;

        AND WHEREAS, the United States caused to be published a Notice of Forfeiture

and Planned Disposition on www.forfeiture.gov, and of the intent of the United States to

dispose of the property in accordance with Title 8, United States Code, Section 1324(b),

and Title 18, United States Code, Section 982(a)(6), and further notifying all third parties

of their right to petition the Court within sixty (60) days of the first day of publication to

adjudicate the validity of their alleged legal interest in the real property.

        AND WHEREAS, no claims or petitions have been filed for the property
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described in this court's Preliminary Order of Forfeiture as to ALEKSANDER V.

BERMAN, entered January 4, 2008, and the time for filing petitions expired on

December 29, 2008, sixty (60) days after the first publication on October 30, 2008,

pursuant to Title 8, United States Code, Section 1324(b), and Title 18, United States

Code, Section 982(a)(6). Accordingly,

       IT IS HEREBY ORDERED, ADJUDGED and DECREED:

       1.      That the right, title and interest to all of the hereinafter described property

is hereby condemned, forfeited and vested in the United States of America.

       2.      Property subject to forfeiture in this Order is as follows:

               2001 Meredes Benz S500, bearing Vehicle Identification Number
               WDBNG75J21A184105, registered to Alexander Berman

       4.      That no other person or entity has established that they have any legal

right, title or interest in said property forfeited to the United States of America by Order

entered on January 4, 2008, and said forfeiture is now final.

       5.      That the United States Marshal shall dispose of said property in

accordance with law.

       IT IS SO ORDERED this 9th day of January, 2009.

                                               s /L.A. Collier
                                               LACEY A. COLLIER
                                               SENIOR U.S. DISTRICT JUDGE




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